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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

KEITH COLE, JACKIE BRANNUM,                   §
RICHARD ELVIN KING, LAVAR SANTEE,             §
FRED WALLACE, and MARVIN RAY                  §
YATES, individually and on behalf of those    §
similarly situated,                           §
         Plaintiffs,                          §
                                              §
v.                                            §             No. 4:14-cv-1698
                                              §
BRYAN COLLIER, in his official capacity,      §
ROBERT HERRERA, in his official capacity      §
and TEXAS DEPARTMENT OF                       §
CRIMINAL JUSTICE,                             §
      Defendants.                             §

                             Defendants’ Response to
                            Class Settlement Objections
                              I.     Introduction
       Defendants the Texas Department of Criminal Justice, Bryan Collier, and

Warden Herrera (collectively “TDCJ”) respond to objections to the approval of the

class settlement, attached as Exhibit A; [ECF # 989-4]. At its core, the settlement

provides an assurance that all members of the class will be housed during the remainder

of their current incarcerations at TDCJ in temperatures not exceeding an 88 degree heat

index via temporary, and then permanent air conditioning.

       On March 6, 2018, the Court preliminarily approved the proposed class

settlement agreement between the Parties. [ECF # 1065]. As a part of that order, the




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Court also certified a settlement class of defined Pack inmates and a defined subclass

of potentially heat-sensitive Pack inmates. [ECF # 1065].

      Pursuant to that order, members of the certified class and subclass were provided

notice of the preliminarily approved settlement and provided an opportunity to object

to the fairness of the settlement before the May 8, 2018, hearing concerning final

approval of the proposed settlement. [ECF # 1065 at 37–38].

      This brief is Defendants’ response to the lodged objections. First, the brief

describes the current implementation of temperature control measures that are

compliant with the proposed class settlement agreement. The brief next addresses

various objections raised by class and subclass members. Finally, this brief responds to

objections to final approval raised by individuals outside the class.

         II.    Implementation of Temperature Control Measures
      Prior to April 15, 2018, the Texas Department of Criminal Justice (TDCJ)

installed 360 tons of air conditioning and related infrastructure that covered all housing

areas of the Pack Unit. See Ex. B, Declaration of Frank Inmon (“Inmon Decl.”) ¶¶ 3–

4. Pursuant to negotiations with class counsel, TDCJ also voluntarily agreed to air

condition the Trusty Camp Day Room where inmates at the Trusty Camp may spend

some otherwise unoccupied hours, which TDCJ is now in the process of installing. Ex.

B, Inmon Decl. ¶¶ 3–4. The initial 360 tons of air conditioning installed at the Pack

Unit has been operational since April 15, 2018, and effectively maintained a heat index


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of less than 88 degrees, with only limited, area-specific outages lasting no more than, in

a single instance, 10 hours. Ex. B, Inmon Decl. ¶ 7.

                        III.   Class Member Objections
       The objections to final approval filed by settlement class members with the Court

vary, but also have significant overlap with one another.

       Many of the objections do not pertain to the factual predicate and subject matter

of the lawsuit, and consequent settlement. As such, those objections are not actually

objections to the settlement; but rather complaints about separate, individual claims.

The settlement does not preclude individual claims or causes of action that are not

covered under the terms of the settlement, and the settlement will not prejudice those

potential individual claims. Claim preclusion, or res judicata, bars the litigation of claims

that either have been litigated or should have been raised in an earlier suit. Super Van

Inc. v. San Antonio, 92 F.3d 366, 370 (5th Cir.1996). The test for claim preclusion has

four elements: (1) The parties are identical or in privity; (2) the judgment in the prior

action was rendered by a court of competent jurisdiction; (3) the prior action was

concluded to a final judgment on the merits; and (4) the same claim or cause of action

was involved in both actions. Swate v. Hartwell, 99 F.3d 1282, 1286 (5th Cir.1996).

       Within this broad category, several objections question whether TDCJ can or

will effectuate the terms of the settlement. See, e.g., Britton (ECF # 1125); Malouff

(ECF # 1091, # 1124). If class members believe that the TDCJ is not adhering to the


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terms of the settlement, the settlement does not bar them from pursuing legal remedies

regarding any such perceived violation.

       At least one objection concerns the provision of food related to religious

practices. Lares (ECF # 1090). First Amendment claims are far outside the subject

matter of the lawsuit or the terms of the settlement. Later-filed First Amendment

claims are not barred by the settlement.

       Others object to the various matters concerning the scope of the agreement: that

it doesn’t cover certain areas of the Pack Unit, Blackwell (ECF # 1126) (showers,

medical waiting area, etc.), that it does not protect those who are reincarcerated, see, e.g.,

Cole (ECF # 1121), Britton (ECF # 1125), or that the settlement should cover all

inmates, wherever located, at TDCJ facilities, see, e.g., Cole (ECF # 1121). The terms

of the settlement agreement were the product of years of lengthy, highly-contested

litigation, and an intensive two-day mediation facilitated by former Texas Supreme

Court Justice, Scott Brister. The housing areas of the entire Pack Unit—where all Pack

inmates reside, whether or not heat intolerant—will be air conditioned, which as the

Court is aware, exceeded any relief obtained through litigation to date. Re-offending

inmates are not covered by the settlement class definition and is a provision that the

TDCJ would not have agreed to for a number of reasons. Finally, concerning the

remainder of inmates at the TDCJ’s facilities, the lawsuit only concerned the Pack Unit

and no relief pertaining to other facilities could have been granted.

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      For the reasons stated just above, objections concerning class counsel also have

no merit. As the Court no doubt observed, class counsel zealously represented the class

at every turn during years of litigation, and then through two days of mediation that

ended at approximately 1:00 a.m. on the third day. Even now, class counsel is

representing the class’s interest on a number of individual and broader issues, such as

the air-conditioning of the Trusty Camp Day Room in an attempt to secure the most

favorable outcome for the class.

      Several objections express concern that TDCJ will retaliate against class

members. See, e.g., Cole (ECF # 1121); Blackwell (ECF # 1126); Garrett (ECF # 1127);

Smith (ECF # 1130); Thomas (ECF # 1136). Again, claims that individual inmate’s

rights are violated are independent causes of action that do not depend upon, nor are

barred by, the class settlement. Inmates alleging retaliation may bring their own cause

of action against the individuals they claim are the wrong-doers.

      Finally, a number of class members raise objections because they want either

monetary compensation, see Malouff (ECF # 1091, # ECF # 1119, # 1122, # 1048),

Garrett (ECF # 1127), Hall (ECF # 1129), Thomas (ECF # 1136), Archer (ECF

# 1137), or some form of criminal prosecution, see Franklin (ECF # 1083); Baity (ECF

# 1084); Gresham (ECF # 1086); Newman (ECF # 1096); Ellis (ECF # 1104). There

is, of course, no standing for any party hereto to bring any sort of criminal action—

which would be meritless in any event. Monetary claims were not a part of this Rule

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23(b)(2) action. [ECF # 1 at 35]. Any individual monetary claims, though Defendants

contend would have no merit, are not barred by this settlement of the injunctive action.

                            IV.    Property Claims
      Although filed as objections to the class settlement, a number of inmates have

lodged claims that their property loss claims related to the hurricane evacuation have

not been properly resolved. [ECF # 1100, # 1101, # 1092, # 1146]. TDCJ has in fact

addressed all these claims as evidenced by the records attached hereto and certified at

Exhibit C.

                 V.     Objections by Non-Class Members
      Several individuals who are not members of the class have asserted a variety of

objections, including that they were improperly excluded from the class. [ECF # 1066,

#1067, # 1078, # 1080, #1118, # 1120, # 1123, # 1140, # 1141]. These objections

are not properly before the Court. First, concerning the scope of the settlement class,

the Court expressly addressed and approved the settlement class in its prior order.

[ECF # 1065].

      Second, these non-class members do not have standing. In the “Deep Water

Horizon litigation,” that court explained the dynamic:

          In the context of class settlements, non-settling parties generally have
      no standing to challenge the proposed settlement. See Transamerican
      Refining Corp. v. Dravo Corp., 952 F.2d 898, 900 (5th Cir. 1992); Agretti v.
      ANR Freight Sys., Inc., 982 F.2d 242, 246 (7th Cir. 1992); In re Vioxx Prods.
      Liab. Litig., 388 F. App’x 391, 395 (5th Cir. 2010) (per curiam). People
      falling outside the settlement class are entirely unaffected by the

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       Settlement, and thus lack standing to challenge it. See Rec. Doc. 6418 at
       16–17; Apr. 25, 2018 Preliminary Approval Hr'g Tr. at 48:20–49:1; Rec.
       Doc. 7038 at 1; Feder v. Electronic Data Systems Corp., 248 F. App’x 579, 580
       (5th Cir. 2007); Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989);
       4 NEWBERG ON CLASS ACTIONS § 11:55 (4th ed.). That doctrine stems
       from the fundamental purpose of fairness review under Rule 23(e)—to
       ensure that absent class members are not bound by an unfair
       settlement. Piambino v. Bailey, 610 F.2d 1306, 1327 (5th Cir. 1980); Pearson
       v. Ecological Sci. Corp., 522 F.2d 171, 176–77 (5th Cir. 1975); Klonoff Decl.
       ¶ 63.

                                              ***

          The Court has received numerous objections from persons falling
       outside the Settlement Class—persons asserting claims that the parties
       have not agreed to settle, persons falling outside the
       Settlement’s geographic boundaries, etc. Because the Settlement
       Agreement does not affect these persons’ legal rights, their claims remain
       viable and they may continue to litigate their cases, but lack standing to
       object.

In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, 910 F. Supp. 2d 891, 941–43

(E.D. La. 2012), aff'd sub nom. In re Deepwater Horizon, 739 F.3d 790 (5th Cir. 2014).

       The same principle applies here. Individuals who are not members of the settling

class are unaffected by the settlement and have no standing to challenge it. Accordingly,

their objections should be overruled.

                                        VI.    Conclusion
       The proposed class settlement in this case, reached only through significant

litigation and negotiations, provides substantial benefits to class members, which may

well be beyond benefits that some or all class members could have received via



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litigation. As demonstrated above, the objections lodged with the Court do not merit

denying to the class the significant and substantial benefits of the litigation.

Accordingly, Defendants request that the Court find that no objection should interfere

with the final approval of the class settlement.

                                         Respectfully submitted,

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                                               ATTORNEYS FOR DEFENDANTS
                                               COLLIER, HERRERA, AND TDCJ



                             NOTICE OF ELECTRONIC FILING

        I, Leah O’Leary, Special Counsel for Civil Litigation, do herby certify that I have
electronically filed this pleading in accordance with the Electronic Case Files System of the Southern
District of Texas, on May 7, 2018.

                                               /s/ Leah O’Leary
                                               LEAH O’LEARY
                                               Assistant Attorney General


                                 CERTIFICATE OF SERVICE

         I, Leah O’Leary, Assistant Attorney General of Texas, certify that a true and correct copy of
the foregoing has been served to all attorneys of record by electronic notice in accordance with Rule
5(b)(2) of the Federal Rules of Civil Procedure on May 7, 2018.

                                               /s/ Leah O’Leary
                                               LEAH O’LEARY
                                               Assistant Attorney General




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